Case 1:20-cv-02602-SEB-MJD Document 10 Filed 11/02/20 Page 1Acknowledged.
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                                                                         This action is hereby
                                                                         dismisse without prejudice.
                      IN THE UNITED STATES DISTRICT COURT
                                                                   11/2/2020
                     FOR THE SOUTHERN DISTRICT OF INDIANA Date: _______________
                              INDIANAPOLIS DIVISION
                                                                          _______________________________
                                                                            _______________________________
Allyson Duffer,                            )                               SARAH
                                                                             SARAH  EVANS
                                                                                      EVANSBARKER,         JUDGE
                                                                                                BARKER, JUDGE
                                           )                               United States
                                                                             United StatesDistrict
                                                                                           DistrictCourt
                                                                                                     Court
       Plaintiff,                          )                               Southern District
                                                                             Southern DistrictofofIndiana
                                                                                                   Indiana

                                           )
       v.                                  )     No.    1:20-cv-2602-SEB-MJD
                                           )
Apelles, LLC, an Ohio limited liability    )
company,                                   )
                                           )
       Defendant.                          )

                         NOTICE OF VOLUNTARY DISMISSAL

       Plaintiff, Allyson Duffer, pursuant to Fed.R.Civ.P. Rule 41 (a)(1)(A)(i) hereby

dismisses, without prejudice, her claims against the Defendant.

Dated: October 28, 2020

One of Plaintiff’s Attorneys

/s/ David J. Philipps_______

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Mary E. Philipps       (Ill. Bar No. 06197113)
Angie K. Robertson (Ill. Bar No. 06302858)
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